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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                                :    CHAPTER 7
                                                      :
WONDALYN SHANTE BAILEY,                               :    CASE NO. 20-62468-SMS
                                                      :
         Debtor.                                      :    JUDGE SIGLER
                                                      :
                                                      :
MIDFIRST BANK,                                        :    CONTESTED MATTER
                                                      :
         Movant.                                      :
                                                      :
v.
                                                      :
WONDALYN SHANTE BAILEY,
S. GREGORY HAYS, Trustee                              :
                                                      :
         Respondents.                                 :
                                                      :

              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY


         Movant has filed documents with the court to obtain relief from the automatic stay.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant relief from the automatic stay or if you want the court to
         consider your views on the motion, then you or your attorney shall attend the hearing scheduled
         to be held on

         March 31, 2021 at 10:00 a.m. at the United States Bankruptcy Court, 75 Ted Turner Drive
         S.W., Courtroom 1201, Atlanta, Georgia 30303.

         *** Given the current public health crisis, hearings may be telephonic only. Please check the
         “Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the
         top of the GANB Website prior to the hearing for instructions on whether to appear in person
         or by phone ***

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
         relief sought in the motion and may enter an order granting relief.

         You may also file a written response to the pleading with the Clerk at the address stated below,
         but you are not required to do so. If you file a written response, you must attach a certificate
         stating when, how and on whom (including addresses) you served the response. Send your
         response so that it is received by the Clerk at least two business days before the hearing.
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      If a hearing on the motion for relief from the automatic stay cannot be held within thirty (30)
      days, Movant waives the requirement for holding a preliminary hearing within thirty days of
      filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot be
      rendered by the Court within sixty (60) days of the date of the request, Movant waives the
      requirement that a final decision be issued within that period. Movant consents to the automatic
      stay remaining in effect until the Court orders otherwise.

      The address of the Clerk's Office is: Clerk, 75 Ted Turner Drive S.W., Suite 1340, Atlanta,
      Georgia 30303. You must also send a copy of your response to the undersigned at the address
      stated below.


      Dated this:   2/26/2021



                                                  /s/John D. Schlotter
                                                  John D. Schlotter, GA BAR NO. 629456
                                                  Attorney for Movant
                                                  McCalla Raymer Leibert Pierce, LLC
                                                  1544 Old Alabama Road
                                                  Roswell, Georgia 30076
                                                  678-281-6453
                                                  John.Schlotter@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    )   CHAPTER 7
                                                          )
WONDALYN SHANTE BAILEY,                                   )   CASE NO. 20-62468-SMS
                                                          )
         Debtor.                                          )   JUDGE SIGLER
                                                          )
                                                          )
MIDFIRST BANK,                                            )   CONTESTED MATTER
                                                          )
         Movant.                                          )
                                                          )
v.                                                        )
WONDALYN SHANTE BAILEY,                                   )
S. GREGORY HAYS, Trustee                                  )
                                                          )
         Respondents.


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. A copy of the Security Deed is attached hereto and made a part hereof. Said real

property is security for a promissory note, and is commonly known as 233 Long Drive,

McDonough, Georgia 30253 (the “Property”).

                                                  3.
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       Debtor is in default of the monthly installments pursuant to the terms of the Note. As of

February 11, 2021, Debtor is delinquent for six (6) payments of $936.25 each and one (1)

payment of $964.36, for a total amount of missed payments of $6,581.86, pursuant to the terms

of the Note.

                                                4.

       The unpaid principal balance, as of February 11, 2021, is $96,890.22, and interest is due

thereon in accordance with the Note. The current amount of unpaid interest on Movant’s loan as

of February 11, 2021 is $3,105.81.

                                                5.

       Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                6.

       Because there may be little or no equity in the property which could benefit the Estate,

the Trustee’s interest should be deemed abandoned.

                                                7.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                8.

       Debtor's Schedule A/B values the Property at $159,800.00. Upon information and belief,

Movant is not aware of any other liens against the Property.

                                                9.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any
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other potential loan workouts or loss mitigation agreements.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.


                                               /s/John D. Schlotter
                                               John D. Schlotter, Georgia BAR NO. 629456
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
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